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 10
                      UNITED STATES DISTRICT COURT
 11
                     CENTRAL DISTRICT OF CALIFORNIA
 12
                              SOUTHERN DIVISION
 13
 14 INVENSAS CORPORATION and                  Case No. 8:20-mc-14
    TESSERA ADVANCED
 15
    TECHNOLOGIES, INC.,                       [Case pending in the United States
 16                                           District Court for the District of
                 Plaintiffs,                  Delaware, Case No. 19-cv-861-RGA]
 17
 18             v.                            DECLARATION OF MICHAEL
                                              SONG IN SUPPORT OF
 19
      NVIDIA CORPORATION,                     NONPARTY EVGA
 20                                           CORPORATION’S MOTION TO
                      Defendant.              QUASH
 21
 22                                           Hearing Date: Aug. 10, 2020 (or later)
                                              Hearing Time: TBD
 23
                                              Hearing Place: TBD
 24
 25                                           Judge: TBD

 26
 27
 28


                                                                    Song Declaration
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  1         I, Michael Song, hereby declare the following:
  2         1.    I am a member in good standing of the Bar of the State of California and
  3 a partner at the law firm LTL Attorneys LLP, counsel for Nonparty EVGA Corporation
  4 (“EVGA”). I have personal knowledge of the facts set forth herein, and if called as a
  5 witness, I could and would testify competently thereto.
  6                        EXHIBITS TO MOTION TO QUASH
  7         2.    Attached hereto as Exhibit A is a true and correct copy of the Complaint
  8 filed in Invensas Corp. et. al v. NVIDIA Corp., No. 19-cv-861-RGA, ECF No. 1 (D.
  9 Del. filed May 8, 2019) (the “Underlying Action”), that I downloaded from PACER.
 10 Relevant portions have been highlighted for convenience.
 11         3.    Attached hereto as Exhibit B is a true and correct copy of the May 4, 2020
 12 Discovery Order issued in the Underlying Action under ECF No. 140, that I
 13 downloaded from PACER. Relevant portions have been highlighted for convenience.
 14         4.    Attached hereto as Exhibit C is a true and correct copy of a redacted
 15 version of Plaintiffs’ January 17, 2020 Discovery Letter, filed in the Underlying Action
 16 under ECF No. 91, that I downloaded from PACER. Relevant portions have been
 17 highlighted for convenience.
 18         5.    Attached hereto as Exhibit D is a true and correct copy of excerpts of
 19 Plaintiffs’ First Set of Interrogatories to Defendant NIVIDIA Corporation, filed in the
 20 Underlying Action under ECF No. 91-1, that I downloaded from PACER. Relevant
 21 portions have been highlighted for convenience.
 22         6.    Attached hereto as Exhibit E is a true and correct copy of a redacted
 23 version of the parties’ April 29, 2020 Joint Discovery Letter, filed in the Underlying
 24 Action under ECF No. 145, that I downloaded from PACER. Relevant portions have
 25 been highlighted for convenience.
 26         7.    Attached hereto as Exhibit F is a true and correct copy of a redacted
 27 version of the parties’ February 21, 2020 Joint Discovery Letter, filed in the Underlying
 28 Action under ECF No. 119, that I downloaded from PACER. Relevant portions have
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  1 been highlighted for convenience.
  2        8.     Attached hereto as Exhibit G is a true and correct copy of excerpts of the
  3 transcript from the January 23, 2020 Discovery Conference, filed in the Underlying
  4 Action under ECF No. 95, that I downloaded from PACER. Relevant portions have
  5 been highlighted for convenience.
  6        9.     Attached hereto as Exhibit H is a true and correct copy of Plaintiffs’
  7 Subpoena on EVGA, served on or about February 19, 2020.
  8        10.    Attached hereto as Exhibit I is a true and correct copy of EVGA’s
  9 Objections to Plaintiffs’ Subpoena, served on March 18, 2020.
 10        11.    Attached hereto as Exhibit J is a true and correct copy of an email I sent
 11 to Plaintiffs’ counsel, Thomas Garten, on June 16, 2020. Exhibit J also contains prior
 12 email communications between me and Mr. Garten.
 13        12.    Attached hereto as Exhibit K is a true and correct copy of an email I
 14 received from Mr. Garten on April 27, 2020. Exhibit K also contains a prior email sent
 15 by me on April 24, 2020, but has been excerpted to remove prior emails in the chain
 16 discussing unrelated matters.
 17        13.    Attached hereto as Exhibit L is a true and correct copy of a printout of
 18 the following webpage that was included as a link in Mr. Garten’s May 22, 2020 email:
 19 https://www.nvidia.com/en-us/about-nvidia/legal-info/.
 20        14.    Attached hereto as Exhibit M is a true and correct copy of Nonparty
 21 Amimon’s Opposition to Plaintiff’s Motion to Compel, filed in Kilopass Tech. Inc. v.
 22 Sidense Corp., No. 10-cv-02066 SI, ECF No. 109 (N.D. Cal. June 3, 2011) that I
 23 downloaded from PACER. Relevant portions have been highlighted for convenience.
 24        15.    Attached hereto as Exhibit N is a true and correct copy of the Scheduling
 25 Order issued in the Underlying Action under ECF No. 25, that I downloaded from
 26 PACER. Relevant portions have been highlighted for convenience.
 27        16.    Attached hereto as Exhibit O is a true and correct copy of the E-Discovery
 28 Order issued in the Underlying Action under ECF No. 37, that I downloaded from
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  1 PACER. Relevant portions have been highlighted for convenience.
  2                          MEET AND CONFER EFFORTS
  3        17.    EVGA’s extensive efforts to meet and confer with Plaintiffs to try and
  4 resolve the disputes regarding the scope of the subpoena they issued to EVGA on or
  5 about February 19, 2020 (the “Subpoena”) are memorialized in Exhibits J and K, and
  6 are summarized below.
  7        18.    On February 28, 2020, I first spoke with Mr. Garten via telephone
  8 regarding the Subpoena. See Exhibit H. During that February 28 call, Mr. Garten
  9 agreed to a two-week extension for EVGA (and six other nonparties who also received
 10 subpoenas from Plaintiffs) to serve objections to the Subpoena. EVGA timely served
 11 its objections to the subpoena on March 18, 2020. See Exhibit I.
 12        19.    I met and conferred with Mr. Garten on March 4, March 18, and May 1,
 13 2020, regarding EVGA’s objections to Subpoena. Since Mr. Garten and I are not
 14 located in the same county (I am in Los Angeles County, and Mr. Garten is in Santa
 15 Clara County), these conferences took place telephonically.
 16        20.    At the March 4 meet and confer, Mr. Garten explained that Plaintiffs
 17 included Document Request Nos. 3 and 4 as a precautionary measure because it was
 18 concerned that NVIDIA would not produce the documents itself. Mr. Garten declined
 19 to narrow these requests with any temporal restriction. Mr. Garten agreed to: (1) limit
 20 the scope of Document Request Nos. 1 and 2 from May 2013 - present to late-2014 -
 21 present; and (2) table the deposition and Document Request Nos. 3 and 4, while
 22 Plaintiffs seek such documents from NVIDIA.
 23        21.    At the May 1 meet and confer, Mr. Garten stated that Plaintiffs had not
 24 yet served any email production requests on NVIDIA. Mr. Garten stated that he would
 25 respond by Monday, May 4, 2020, to provide Plaintiffs’ position on the outstanding
 26 issues, including whether Plaintiffs agree to exclude legacy products, that EVGA’s
 27 obligations with respect to Document Request Nos. 3 and 4 are fully satisfied, the
 28 deposition request will be withdrawn, and to EVGA’s proposed compromise
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  1 (production of weekly reports).
  2        22.    In addition to these telephonic meet and confers, I also sent Mr. Garten
  3 emails on at least March 31, April 6, April 10, April 24, May 4, May 6, May 7, May 8,
  4 and May 14, 2020 that: (a) identified issues and discovery requests that EVGA
  5 disputed, (b) provided EVGA’s position regarding the disputes, (c) provided case law
  6 supporting EVGA’s position regarding the disputes, (c) asked Mr. Garten to provide
  7 Plaintiffs’ position on the disputes that were discussed during meet and confers and in
  8 emails, (d) reminded Mr. Garten that EVGA had not received Plaintiffs’ position on
  9 some of the disputes and asked when EVGA could expect to receive a response with
 10 Plaintiffs’ positions on those disputes, and/or (e) proposed compromises to try and
 11 resolve the disputes. See Exhibits J and K.
 12        23.    On April 27, 2020, I received an email from Mr. Garten agreeing to
 13 modify the relevant time period to: “(1) October 2014 to October 2018 for any product
 14 sold in the US containing an ‘Accused NVIDIA Chipset,’ as that term is defined in the
 15 subpoenas (this includes the GP100 and GV100, among others); and (2) October 2014
 16 to the present for any product sold in the US containing a GP100 or GV100 GPU.” See
 17 Exhibit K.
 18        24.    Throughout the meet and confer process, Mr. Garten often failed to timely
 19 provide Plaintiffs’ position on the discovery disputes. For example:
 20     • May 1 Meet and Confer: Despite EVGA’s request to meet and confer on every
 21        disputed issue, including the tabled deposition topics, Plaintiffs did not provide
 22        its position on several issues at the May 1 meet and confer, and did not provide
 23        its position on those issues until May 22, 2020.
 24     • Revenue: I first raised the lack of relevance of EVGA’s revenue information on
 25        March 18, 2020. I sent six reminders or rebuttals on March 31, April 6, May 1,
 26        May 4, May 6, and May 14, 2020. Plaintiffs’ counsel first sent two inapposite
 27        cases on May 22, 2020. Thus, EVGA and Plaintiffs have disputed this issue for
 28        over three months.
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  1     • Legacy Products: I first raised the burden of producing information regarding
  2         legacy products on April 10, 2020. I sent at least four reminders that Plaintiffs
  3         have not yet taken a position on this issue on May 1, May 6, May 8, and May
  4         14, 2020. Plaintiffs have never taken a position on this issue despite being raised
  5         almost three months ago.
  6     • Proposed Compromise: I first proposed production of EVGA’s weekly reports
  7         as a compromise on May 1, 2020. I sent three reminders on May 6, May 8, and
  8         May 14, 2020. Plaintiffs have never taken a position on whether such reports
  9         would satisfy their requests for EVGA’s sales information, despite being raised
 10         more than two months ago.
 11         25.   On June 16, 2020, I sent Mr. Garten an email requesting a meet and confer
 12 that identified each issue and discovery request still in dispute, stated EVGA’s position
 13 on each such issue/request, including legal authority EVGA believes is dispositive of
 14 the dispute as to that issue/request, and specified that EVGA will seek an Order
 15 quashing the subpoena in its entirety. See Exhibit J. As of the signing of this
 16 declaration on July 7, 2020, Mr. Garten has not responded to my June 16 email
 17 requesting a meet and confer for approximately 3 weeks. Thus, Mr. Garten failed to
 18 confer in a timely manner under L.R. 37-1.
 19
 20         I declare under penalty of perjury under the laws of the United States of America
 21 that the foregoing is true and correct, and that I executed this declaration on July 7,
 22 2020 in Los Angeles, California.
 23                                                     /s/ Michael J. Song
                                                __________________________________
 24
                                                           Michael J. Song
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 26
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                                                                            Song Declaration
